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                Exhibit B
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                                                                                                                      Loss Chart
                                                                                                Losses of Amjad Fraitekh in Immunomedics, Inc. (IMMU)
Client Name                    Amjad Fraitekh                                                                                                                                                                                        LIFO Loss Total       $103,564.54
Company Name                 Immunomedics, Inc.                       90 Day Lookback Average           $14.3464                                                                                                                     Dura LIFO Total       $103,564.54
Ticker Symbol                      IMMU                                                                                                                                                                                              Shares Purchased          15,822
Class Period Start                2/8/2018                                                                                                                                                                                           Shares Retained           15,822
Class Period End                 1/18/2019                                                                                                                                                                                           Net Funds Expended    $330,553.28

                                                                                                                                                                                          Securities
                                                                                                                                         Actual Sales Avg. Trading                       Held at Close
                                                              Price Per                                  Disposition                       Price Per Price on Date Total Proceeds          of Class    Per Security     Retained     Total Proceeds/Loss
 Acquisition Date Quantity of Securities Purchased Security                        Total Cost                Date      Securities Sold      Security         of Sale*       from Sale       Period        Value          Value             (LIFO)        Dura LIFO**
           9/13/2018                                   2,206 $22.6200                    $49,899.7200                                                                           $0.0000          2,206   14.3464      $ 31,648.16        $18,251.56        $18,251.56
           9/14/2018                                   2,232 $22.4000                    $49,996.8000                                                                           $0.0000          2,232   14.3464      $ 32,021.16        $17,975.64        $17,975.64
           9/14/2018                                   2,262 $22.1100                    $50,012.8200                                                                           $0.0000          2,262   14.3464      $ 32,451.56        $17,561.26        $17,561.26
           9/14/2018                                   2,272 $22.0400                    $50,074.8800                                                                           $0.0000          2,272   14.3464      $ 32,595.02        $17,479.86        $17,479.86
           9/21/2018                                   2,275 $21.9900                    $50,027.2500                                                                           $0.0000          2,275   14.3464      $ 32,638.06        $17,389.19        $17,389.19
           10/5/2018                                   1,267 $19.7200                    $24,985.2400                                                                           $0.0000          1,267   14.3464      $ 18,176.89         $6,808.35         $6,808.35
         10/24/2018                                    1,167 $21.9400                    $25,603.9800                                                                           $0.0000          1,167   14.3464      $ 16,742.25         $8,861.73         $8,861.73
         12/20/2018                                    2,141 $13.9900                    $29,952.5900                                                                           $0.0000          2,141   14.3464      $ 30,715.64         ($763.05)          ($763.05)
TOTAL:                                              15,822                                $330,553.28                               -                                              $0.00       15,822                 $ 226,988.74            $103,564.54 $103,564.54
* Post-class period sales valued using the greater of: (1) the average closing price between the end of the class period and the sales date; or (2) the actual sales price.
** Disregarding intra-class period gains and losses.
